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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE



    In re:                                                        Chapter 11

    Zohar III, Corp., et al.,1                                    Case No. 18-10512 (KBO)

                                      Debtors.                    Jointly Administered


                             IN THE UNITED STATES DISTICT COURT
                                FOR THE DISTRICT OF DELAWARE


    LYNN TILTON; PATRIARCH PARTNERS
    VIII, LLC; PATRIARCH PARTNERS XIV,
    LLC; PATRIARCH PARTNERS XV, LLC;
    OCTALUNA, LLC; OCTALUNA II, LLC; and
    OCTALUNA III, LLC,

                                      Appellants,

                     v.

    MBIA INC., MBIA INSURANCE                                     Case No. 1:22-cv-00400 (TLA)
    CORPORATION, U.S. BANK, N.A.,
    ALVAREZ & MARSAL ZOHAR
    MANAGEMENT, CREDIT VALUE
    PARTNERS, LP, BARDIN HILL
    INVESTMENT PARTNERS F/K/A
    HALCYON CAPITAL MANAGEMENT LP,
    COÖPERATIEVE RABOBANK U.A.,
    VÄRDE PARTNERS, INC., ASCENSION
    ALPHA FUND LLC, ASCENSION HEALTH
    MASTER PENSION TRUST, CAZ
    HALCYON OFFSHORE STRATEGIC
    OPPORTUNITIES FUND, L.P., CAZ
    HALCYON STRATEGIC OPPORTUNITIES
    FUND, L.P., BROWN UNIVERSITY, HCN

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  The Debtors, and, where applicable, the last four digits of each of their respective taxpayer identification numbers,
are as follows: Zohar III, Corp. (9612), Zohar II 2005-1, Corp. (4059), Zohar CDO 2003-1, Corp. (3724), Zohar III,
Limited (9261), Zohar II 2005-1, Limited (8297), and Zohar CDO 2003-1, Limited (5119). The Debtors’ address is
c/o FTI Consulting, Inc., 1166 Avenue of the Americas, 15th Floor, New York, NY 10036.

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    LP, HALCYON EVERSOURCE CREDIT
    LLC, HLF LP, HLDR FUND I NUS LP,
    HLDR FUND I TE LP, HLDR FUND I UST
    LP, HALCYON VALLÉE BLANCHE
    MASTER FUND LP, BARDIN HILL EVENT-
    DRIVEN MASTER FUND LP, PRAETOR
    FUND I, A SUB FUND OF PRAETORIUM
    FUND I ICAV; HIRTLE CALLAGHAN
    TOTAL RETURN OFFSHORE FUND
    LIMITED; HIRTLE CALLAGHAN TOTAL
    RETURN OFFSHORE FUND II LIMITED;
    HIRTLE CALLAGHAN TRADING
    PARTNERS, L.P.; AND THIRD SERIES OF
    HDML FUND I LLC.,

                                      Appellees.


            APPELLANTS’ DESIGNATION OF RECORD AND STATEMENT OF
                 ISSUES ON APPEAL PURSUANT TO RULE 8009(A) OF
               THE FEDERAL RULES OF BANKRUPTCY PROCEDURE2

         Pursuant to Rule 8009(a) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”) and Rule 8009-1 of the Local Rules of Bankruptcy Practice and Procedure of the United

States Bankruptcy Court for the District of Delaware (the “Local Rules”), Patriarch Partners VIII,

LLC, Patriarch Partners XIV, LLC, Patriarch Partners XV, LLC, Octaluna, LLC, Octaluna II,

LLC, Octaluna III, LLC, and Lynn Tilton (collectively, “Appellants”) hereby submit their

designation of the record on appeal, together with all exhibits, attachments, and documents

incorporated by reference therein, and statement of the issues on appeal in connection with their

appeal from the Memorandum Opinion and Order on Defendants’ Motions to Dismiss the

Amended Complaint of Lynn Tilton and the Patriarch & Octaluna Entities for Equitable

Subordination [Adv. D.I. 236] (the “Order”).


2
 Capitalized terms not defined herein have the meanings ascribed to them in the Amended Complaint [Adv. D.I. 160]
(“Am. Compl.”).


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                         DESIGNATION OF THE RECORD ON APPEAL3

     Adv.       Date Filed                                         Description
    Docket
     No.
      64        10/30/2020      Motion to Dismiss Adversary Proceeding
      65        10/30/2020      Memorandum of Law in Support of Defendant U.S. Bank National
                                Association's Motion to Dismiss
      81        10/30/2020      Motion to Dismiss Adversary Proceeding Filed by Alvarez & Marsal Zohar
                                Management LLC
      82        10/30/2020      Opening Memorandum of Law in Support of Defendant Alvarez & Marsal
                                Zohar Management's Motion to Dismiss Complaint of Lynn Tilton and the
                                Patriarch & Octaluna Entities
     103        10/30/2020      Plaintiffs' Omnibus Opposition to Defendants' Motions to Dismiss the
                                Complaint
     110        03/02/2021      Memorandum of Law in Further Support of Defendant U.S. Bank National
                                Association's Motion to Dismiss
     111        03/02/2021      [Sealed] Reply in Support of Defendant Alvarez & Marsal Zohar
                                Managements Motion to Dismiss Complaint of Lynn Tilton and the
                                Patriarch & Octaluna Entities
     125        07/29/2021      Letter from Theresa Trzaskoma to the Honorable Karen B. Owens
                                regarding supplemental authority.
     126        08/05/2021      Letter from Michael Petrella to Judge Owens dated 8/5/2021 in response to
                                Patriarch's Letter dated 7/29/2021
     127        10/20/2021      Letter from Michael Petrella to the Honorable Karen B. Owens regarding
                                supplemental authority
     128        10/20/2021      Letter to the Honorable Karen B. Owens regarding supplemental authority

     129        10/21/2021      Letter to the Honorable Karen B. Owens regarding Supplemental Authority

     132        10/26/2021      [Sealed] Letter from Theresa Trzaskoma to the Honorable Karen B. Owens
                                regarding October 27, 2021 hearing
     133        10/26/2021      Letter to Judge Owens from Michael E. Petrella dated October 26, 2021 re.
                                Response to Patriarch's Letter
     134        10/26/2021      Letter to the Honorable Karen B. Owens in Response to Patriarchs Letter

     137        10/29/2021      Letter from Theresa Trzaskoma to the Honorable Karen B. Owens
                                regarding October 27, 2021 hearing
     160        01/06/2022      [Sealed] Amended Complaint to Modify Nature of Suit
     167        01/28/2022      Supplemental Memorandum of Law in Further Support of Alvarez &
                                Marsal Zohar Managements Motion to Dismiss the Complaint of Lynn
                                Tilton and the Patriarch & Octaluna Entities.
     168        01/28/2022      [Sealed] Memorandum of Law of Zohar III Controlling Class in Support of
                                their Motion to Dismiss the Amended Complaint under Federal Rule of
                                Civil Procedure 12(b)(6) Made Applicable by Bankruptcy Rule 7012

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  Portions of the record designated for appeal were filed or admitted under seal. Contemporaneously with the filing of
this designation Appellant will file a motion with the District Court pursuant to Bankruptcy Rule 8009(f) requesting
that the District Court accept these portions of the record under seal.


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    Adv.        Date Filed                                 Description
   Docket
    No.
    169         01/28/2022   [Sealed] Motion to Dismiss Adversary Proceeding
    170         01/28/2022   [Sealed] Declaration in Support of Michael E. Petrella Regarding
                             Defendants MBIA Inc.'s and MBIA Insurance Corporation's Motion to
                             Dismiss Equitable Subordination Complaint
     192        02/17/2022   [Sealed] Plaintiffs' Omnibus Opposition to Defendants' Motions to Dismiss
                             the Amended Complaint
     205        02/24/2022   [Sealed] Reply Memorandum of Law of the Zohar III Controlling Class in
                             Further Support of their Motion to Dismiss the Amended Complaint
     206        02/24/2022   [Sealed] Reply /Defendants MBIA Inc.'s and MBIA Insurance
                             Corporation's Reply Memorandum of Law in Further Support of Their
                             Motion to Dismiss Equitable Subordination Amended Complaint
     207        02/24/2022   Limited Supplemental Reply Brief in Support of Defendant Alvarez &
                             Marsal Zohar Managements Motion to Dismiss Complaint of Lynn Tilton
                             and the Patriarch & Octaluna Entities
     215        03/01/2022   Notice of Agenda of Matters Scheduled for Hearing on March 3, 2022 at
                             1:00 p.m. (ET)
     233        03/24/2022   [Sealed] Amended Complaint to Modify Nature of Suit
     236        03/25/2022   Memorandum Opinion and Order on Defendants Motions to Dismiss the
                             Amended Complaint of Lynn Tilton and The Patriarch & Octaluna Entities
                             for Equitable Subordination
    237         03/29/2022   Notice of Appeal Civil Action Number: 22-400 ; BAP Number: 22-29
   Docket       10/01/2019   Docket in Adversary Proceeding No. 19-50390 (KBO) (Bankr. D. Del.)
                    to
                04/12/2022


   Bankr.       Date Filed   Description
   Docket
    No.

 3133           03/04/2022   Transcript regarding Hearing Held 03/03/22 RE: Oral Argument




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                         STATEMENT OF THE ISSUES ON APPEAL

         Appellants hereby state the following as the issues on appeal pursuant to Bankruptcy Rule

8009(a)(1)(A):

1.       Did the Bankruptcy Court err in finding that Appellants failed to state a claim, including

by not drawing all reasonable inferences in Appellants’ favor?

2.       Did the Bankruptcy Court err in holding that the doctrine of collateral estoppel barred the

Amended Complaint’s allegations that Appellees behaved inequitably?

3.       Did the Bankruptcy Court err in holding that Appellants failed to sufficiently allege that

Appellees’ conduct with regard to the auction of the Zohar I collateral amounted to inequitable

conduct justifying subordination?

4.       Did the Bankruptcy Court err in holding that Appellants failed to sufficiently allege that

Appellees acted with an improper purpose that amounted to inequitable conduct justifying

subordination?

5.       Did the Bankruptcy Court err in holding that Appellants failed to sufficiently allege that

Appellee U.S. Bank National Association was an insider of the Debtors?


 Dated: April 12, 2022                                COLE SCHOTZ P.C.
        Wilmington, Delaware
                                                      By: /s/ G. David Dean
                                                      Norman L. Pernick (No. 2290)
                                                      G. David Dean (No. 6403)
                                                      Patrick J. Reilley (No. 4451)
                                                      500 Delaware Avenue, Suite 1410
                                                      Wilmington, DE 19801
                                                      Telephone: (302) 652-3131
                                                      Facsimile: (302) 652-3117
                                                      npernick@coleschotz.com
                                                      ddean@coleschotz.com
                                                      preilley@coleschotz.com

                                                      – and –


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                                           SHER TREMONTE LLP

                                           Theresa Trzaskoma
                                           (Admission Pro Hac Vice pending)
                                           Maya Brodziak
                                           (Admission Pro Hac Vice pending)
                                           90 Broad Street, 23rd Floor
                                           New York, New York 10004
                                           Telephone: (212) 202-2600
                                           Facsimile: (212) 202-4156
                                           ttrzaskoma@shertremonte.com

                                           Counsel to Appellants




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